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/3,KDVFRPPLWWHGRUDLGHGDEHWWHGFRQWULEXWHGWRDQGRUSDUWLFLSDWHGLQWKHFRPPLVVLRQRI

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DQHWZRUNRIGLVWULEXWRUVWRPDUNHWLWVJHQHULFGUXJVLQHYHU\VWDWHLQFOXGLQJ0DU\ODQGEHFDXVH

³/3,HQMR\VVWURQJEUDQGHTXLW\LQWKH86ZKROHVDOHDQGUHWDLOFKDQQHOVDVDSUHIHUUHGVXSSOLHU

RITXDOLW\JHQHULFV´/XSLQ¶VJHQHULFGUXJVDUHLQFOXGHGRQ0DU\ODQG¶V3UHIHUUHG'UXJ/LVWDQG

DUHVROGWKURXJKYDULRXVFKDQQHOVLQFOXGLQJ&963KDUPDF\ZKLFKKDVRYHUORFDWLRQVLQWKH

VWDWHRI0DU\ODQG

           7KLV&RXUWKDVSHUVRQDOMXULVGLFWLRQRYHU/3,EHFDXVHRQLQIRUPDWLRQDQGEHOLHI

/3,DFWLQJLQFRQFHUWZLWK/XSLQ/LPLWHGKDVHQJDJHGLQFRQGXFWWKDWUHOLDEO\SUHGLFWV

0DU\ODQGDFWLYLWLHVE\/XSLQ2QLQIRUPDWLRQDQGEHOLHI/3,E\DFWLQJLQFRQFHUWZLWK/XSLQ

/LPLWHGDQGVXEPLWWLQJ$1'$1RKDVWDNHQWKHVLJQLILFDQWVWHSRIDSSO\LQJWRWKH

)'$IRUDSSURYDOWRHQJDJHLQIXWXUHDFWLYLWLHV²LQFOXGLQJZURQJIXOPDUNHWLQJRILWVJHQHULF

GUXJV²WKDWZLOOEHSXUSRVHIXOO\GLUHFWHGDW0DU\ODQG 

           2QLQIRUPDWLRQDQGEHOLHI/3,DQG/XSLQ/LPLWHGRSHUDWHDVDQLQWHJUDWHG

EXVLQHVVXOWLPDWHO\FRQWUROOHGE\/XSLQ/LPLWHG,QLWV$QQXDO5HSRUW/XSLQ/LPLWHG

DFNQRZOHGJHGWKDW/3,¶V³VWURQJFRPPHUFLDOFDSDELOLWLHVLQWKH86PDUNHWIRUJHQHULFGUXJ

SURGXFWVKDYHPDGH/3,DNH\FRQWULEXWRUWR/XSLQ/LPLWHG¶VJURZWK´

           9HQXHLVSURSHULQWKLVGLVWULFWXQGHU86&DQGE

                                 )$&78$/%$&.*5281'

           7KH¶SDWHQWHQWLWOHG³)RUPXODWLRQRI0HOR[LFDP´LVVXHGRQ

'HFHPEHUDQGQDPHV+:LOOLDP%RVFKDVWKHLQYHQWRU$WUXHDQGDFFXUDWHFRS\RI
                                           
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         Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 8 of 58



WKH¶SDWHQWLVDWWDFKHGKHUHWRDV([KLELW$

           L&HXWLFDDVDVVLJQHHRZQVWKHHQWLUHULJKWWLWOHDQGLQWHUHVWLQWKH¶SDWHQW

           ,URNRLVWKHH[FOXVLYHOLFHQVHHWRWKH¶SDWHQWLQWKH8QLWHG6WDWHV

           &ROOHFWLYHO\3ODLQWLIIVDUHLQSRVVHVVLRQRIDOOULJKWVWLWOHDQGLQWHUHVWLQDQGWR

WKH¶SDWHQWLQFOXGLQJDOOULJKWVWRVXHDQGUHFRYHUIRULQIULQJHPHQWWKHUHRI

           ,URNRLVWKHKROGHURIDQDSSURYHG1HZ'UXJ$SSOLFDWLRQ³1'$´1R

IRU0HOR[LFDPFDSVXOHVPJDQGPJVROGXQGHUWKH9,9/2'(;UHJLVWHUHGWUDGHPDUN 

           ,QFRQMXQFWLRQZLWKWKDW1'$,URNRKDVOLVWHGZLWKWKH)'$WKH¶SDWHQW7KH

)'$KDVSXEOLVKHGWKH¶SDWHQWLQWKH$SSURYHG'UXJ3URGXFWVZLWK7KHUDSHXWLF

(TXLYDOHQFH(YDOXDWLRQVFRPPRQO\UHIHUUHGWRDVWKH³2UDQJH%RRN´

           9,9/2'(;LVFRYHUHGE\DWOHDVWRQHFODLPRIWKH¶SDWHQW

           7KH¶SDWHQWHQWLWOHG³)RUPXODWLRQRI0HOR[LFDP´LVVXHGRQ0D\

DQGQDPHV+:LOOLDP%RVFKDVWKHLQYHQWRU$WUXHDQGDFFXUDWHFRS\RIWKH¶SDWHQWLV

DWWDFKHGKHUHWRDV([KLELW%

           L&HXWLFDDVDVVLJQHHRZQVWKHHQWLUHULJKWWLWOHDQGLQWHUHVWLQWKH¶SDWHQW

           ,URNRLVWKHH[FOXVLYHOLFHQVHHWRWKH¶SDWHQWLQWKH8QLWHG6WDWHV

           &ROOHFWLYHO\3ODLQWLIIVDUHLQSRVVHVVLRQRIDOOULJKWVWLWOHDQGLQWHUHVWLQDQGWR

WKH¶SDWHQWLQFOXGLQJDOOULJKWVWRVXHDQGUHFRYHUIRULQIULQJHPHQWWKHUHRI

           ,QFRQMXQFWLRQZLWK1'$1R,URNRKDVOLVWHGZLWKWKH)'$WKH¶

SDWHQW7KH)'$KDVSXEOLVKHGWKH¶SDWHQWLQWKH2UDQJH%RRN

           9,9/2'(;LVFRYHUHGE\DWOHDVWRQHFODLPRIWKH¶SDWHQW

           2QLQIRUPDWLRQDQGEHOLHI/XSLQEHFDPHDZDUHRIWKH¶DQG¶SDWHQWVQR

ODWHUWKDQZKHQHDFKSDWHQWZDVLVVXHGE\WKH3DWHQW2IILFHDQGRUOLVWHGLQWKH2UDQJH%RRNDV
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          Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 9 of 58



FRYHULQJWKHDSSURYHGIRUPXODWLRQRI9,9/2'(;

             2QRUDERXW-DQXDU\3ODLQWLIIVUHFHLYHGDOHWWHUGDWHG'HFHPEHU

VLJQHGRQEHKDOIRI/XSLQ/LPLWHGE\-RVHSK5HLVPDQ³/XSLQ¶V)LUVW3DUDJUDSK,9

/HWWHU´

             /XSLQ¶V)LUVW3DUDJUDSK,9/HWWHUVWDWHGWKDW/XSLQ/LPLWHGKDGVXEPLWWHGDQG

WKH)'$KDGUHFHLYHGDQ$EEUHYLDWHG1HZ'UXJ$SSOLFDWLRQ³$1'$´XQGHUVHFWLRQ

M%LLRIWKH)'&$VHHNLQJDSSURYDOWRHQJDJHLQWKHFRPPHUFLDOPDQXIDFWXUHXVH

LPSRUWDWLRQRIIHUIRUVDOHRUVDOHRI0HOR[LFDPFDSVXOHVPJDQGPJDJHQHULFYHUVLRQRI

WKH9,9/2'(;SURGXFWSULRUWRH[SLUDWLRQRIWKH¶SDWHQW7KH$1'$1XPEHUIRU

/XSLQ¶VDSSOLFDWLRQLV

             2QLQIRUPDWLRQDQGEHOLHI/3,LVWKHDXWKRUL]HGUHSUHVHQWDWLYHIRU/XSLQ/LPLWHG

FRQFHUQLQJ$1'$1R

             /XSLQ¶V)LUVW3DUDJUDSK,9/HWWHUVWDWHGWKDWWKH¶SDWHQWLVLQYDOLGDQGRU

ZRXOGQRWEHLQIULQJHGE\WKHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI

/XSLQ¶VSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJ

             $WWDFKHGWR/XSLQ¶V)LUVW3DUDJUDSK,9/HWWHUZDVDVWDWHPHQWRIWKHIDFWXDODQG

OHJDOEDVHVIRU/XSLQ¶VRSLQLRQWKDWWKH¶SDWHQWLVLQYDOLGXQHQIRUFHDEOHDQGRUZRXOGQRW

EHLQIULQJHGE\WKHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI/XSLQ¶V

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJ 

             ,QILOLQJLWV$1'$1R/XSLQKDVUHTXHVWHGWKH)'$¶VDSSURYDOWR

PDUNHWDJHQHULFYHUVLRQRIWKH9,9/2'(;SURGXFWWKURXJKRXWWKH8QLWHG6WDWHVLQFOXGLQJLQ

WKLVMXGLFLDOGLVWULFW

             2QLQIRUPDWLRQDQGEHOLHIIROORZLQJ)'$DSSURYDORI$1'$1R
                                                  
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        Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 10 of 58



/XSLQ/LPLWHGZLOOPDQXIDFWXUHVHOORIIHUWRVHOODQGRULPSRUWWKHDSSURYHGJHQHULFYHUVLRQRI

WKH9,9/2'(;SURGXFWWKURXJKRXWWKH8QLWHG6WDWHVLQFOXGLQJLQWKLVMXGLFLDOGLVWULFW

            2QLQIRUPDWLRQDQGEHOLHIIROORZLQJ)'$DSSURYDORI$1'$1R/3,

DVWKHPDUNHWLQJDQGVDOHVDJHQWIRU/XSLQ/LPLWHGZLOOVHOODQGRURIIHUWRVHOOWKHDSSURYHG

JHQHULFYHUVLRQRIWKH9,9/2'(;SURGXFWPDQXIDFWXUHGE\/XSLQ/LPLWHGWKURXJKRXWWKH

8QLWHG6WDWHVLQFOXGLQJLQWKLVMXGLFLDOGLVWULFW

            6LQFHUHFHLYLQJ/XSLQ¶V)LUVW3DUDJUDSK,9/HWWHUDQGSULRUWRWKHILOLQJRIWKH

,QLWLDO&RPSODLQW3ODLQWLIIVDWWHPSWHGWRSURFXUHDFRS\RI$1'$1RIURP/XSLQ

/LPLWHG%HFDXVHWKHWHUPVRIWKHSURSRVHGRIIHUZRXOGQRWDOORZ3ODLQWLIIVWRPHDQLQJIXOO\

SURFHVVWKHLQIRUPDWLRQFRQWDLQHGLQWKH$1'$LQFOXGLQJE\QRWDOORZLQJ3ODLQWLIIV¶LQKRXVH

VFLHQWLVWVWRUHYLHZWKH$1'$3ODLQWLIIVFRXOGQRWDJUHHWRWKHWHUPVRIWKHRULJLQDORIIHU2Q

-DQXDU\FRXQVHOIRU3ODLQWLIIVVHQW/XSLQ/LPLWHG¶VFRXQVHODOHWWHULQDQDWWHPSWWR

QHJRWLDWH3ODLQWLIIV¶DFFHVVWR$1'$/XSLQ/LPLWHG¶VFRXQVHOVWDWHGWKDW/XSLQ

/LPLWHGZRXOGQRWSHUPLW3ODLQWLIIV¶LQKRXVHVFLHQWLVWVWRUHYLHZWKH$1'$$VRIWKHILOLQJRI

WKH,QLWLDO&RPSODLQWWKHSDUWLHVFRXOGQRWUHDFKDFFHSWDEOHWHUPVIRUDFFHVVLQJWKH$1'$ 

            3ODLQWLIIVDUHQRWDZDUHRIDQ\RWKHUPHDQVIRUREWDLQLQJLQIRUPDWLRQUHJDUGLQJ

/XSLQ¶VSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJ,QWKHDEVHQFHRIVXFK

LQIRUPDWLRQ3ODLQWLIIVUHVRUWWRWKHMXGLFLDOSURFHVVDQGWKHDLGRIGLVFRYHU\WRREWDLQXQGHU

DSSURSULDWHMXGLFLDOVDIHJXDUGVVXFKLQIRUPDWLRQDVLVUHTXLUHGWRFRQILUPLWVDOOHJDWLRQVRI

LQIULQJHPHQWDQGWRSUHVHQWWKH&RXUWHYLGHQFHWKDW/XSLQ¶VSURSRVHG0HOR[LFDPFDSVXOHVPJ

DQGPJIDOOZLWKLQWKHVFRSHRIRQHRUPRUHFODLPVRIWKH¶SDWHQW

            2QRUDERXW-XQH3ODLQWLIIVUHFHLYHGDOHWWHUGDWHG-XQHVLJQHG

RQEHKDOIRI/XSLQ/LPLWHGE\-RVHSK5HLVPDQ³/XSLQ¶V6HFRQG3DUDJUDSK,9/HWWHU´
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         Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 11 of 58



           /XSLQ¶V6HFRQG3DUDJUDSK,9/HWWHUVWDWHGWKDW$1'$1RQRZLQFOXGHV

DFHUWLILFDWLRQXQGHUVHFWLRQM$YLL3DUDJUDSK,9WKDWWKH¶SDWHQWLVLQYDOLGDQGRU

ZRXOGQRWEHLQIULQJHGE\WKHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI

/XSLQ¶VSURSRVHGPHOR[LFDPFDSVXOHVPJDQGPJ

           $WWDFKHGWR/XSLQ¶V6HFRQG3DUDJUDSK,9/HWWHUZDVDVWDWHPHQWRIWKHIDFWXDO

DQGOHJDOEDVHVIRU/XSLQ¶VRSLQLRQVWKDWWKH¶SDWHQWLVLQYDOLGXQHQIRUFHDEOHDQGRUZRXOG

QRWEHLQIULQJHGE\WKHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI

/XSLQ¶VSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJ

           6LQFHUHFHLYLQJ/XSLQ¶V)LUVW3DUDJUDSK,9OHWWHUDQGDIWHUWKHILOLQJRIWKH,QLWLDO

&RPSODLQW3ODLQWLIIVKDYHREWDLQHGDFRS\RI$1'$1RIURP/XSLQ/LPLWHG

           %HFDXVHWKH\KDYHEHHQXQDEOHWRREWDLQDQGWHVWVDPSOHVRI/XSLQ¶VSURSRVHG

JHQHULF0HOR[LFDPFDSVXOHVPJDQGPJ3ODLQWLIIVDOOHJHWKHFDXVHVKHUHLQDUHEDVHG

SULPDULO\RQUHSUHVHQWDWLRQVFRQWDLQHGLQ/XSLQ¶V3DUDJUDSK,9/HWWHUVLWV$1'$DQGGRFXPHQW

SURGXFWLRQPDGHWRGDWHDQGWKHRWKHUIDFWVDOOHJHGKHUHLQ

           /XSLQ¶VHIIRUWVWRVHHN)'$DSSURYDOWRPDUNHWJHQHULFFRSLHVRI9,9/2'(;

EUDQG0HOR[LFDPFDSVXOHVPJDQGPJSULRUWRH[SLUDWLRQRIWKH¶DQG¶SDWHQWV

FRQVWLWXWHDFWVRILQIULQJHPHQWSXUVXDQWWR86&HDQGWKXVFUHDWHDMXVWLFLDEOH

FRQWURYHUV\EHWZHHQWKHSDUWLHVZLWKUHVSHFWWRWKHVXEMHFWPDWWHURI/XSLQ¶V$1'$DQGWKH

¶DQG¶SDWHQWVZKLFKKDYHEHHQFKDOOHQJHGLQ/XSLQ¶V3DUDJUDSK,9/HWWHUV

                                          &281721(

    Infringement of the ’734 Patent Under 35 U.S.C. § 271(e)(2) by Lupin’s Proposed Generic
                              Meloxicam capsules 5 mg and 10 mg

           3ODLQWLIIVLQFRUSRUDWHHDFKRIWKHSUHFHGLQJSDUDJUDSKVDVLIIXOO\VHWIRUWKKHUHLQ

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        Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 12 of 58



            /XSLQ/LPLWHGVXEPLWWHG$1'$1RWRWKH)'$XQGHUVHFWLRQMRI

WKH)'&$WRREWDLQDSSURYDOWRHQJDJHLQWKHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRU

RIIHUIRUVDOHRILWVSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJWKURXJKRXWWKH8QLWHG

6WDWHV%\VXEPLWWLQJWKLVDSSOLFDWLRQ/XSLQ/LPLWHGKDVFRPPLWWHGDQDFWRILQIULQJHPHQWRI

WKH¶SDWHQWXQGHU86&H$

            2QLQIRUPDWLRQDQGEHOLHI/3,SDUWLFLSDWHGLQFRQWULEXWHGWRDLGHGDEHWWHG

DQGRULQGXFHGWKHVXEPLVVLRQRI$1'$1R/3,¶VSDUWLFLSDWLRQLQFRQWULEXWLRQWR

DLGLQJDEHWWLQJDQGRULQGXFHPHQWRIWKHVXEPLVVLRQRI$1'$1RFRQVWLWXWHVDQDFWRI

LQIULQJHPHQWRIWKH¶SDWHQWXQGHU86&H$

            7KHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI/XSLQ¶V

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJZLOOFRQVWLWXWHDQDFWRIGLUHFW

LQIULQJHPHQWRIWKH¶SDWHQW

            7KHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI/XSLQ¶V

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJLQYLRODWLRQRI3ODLQWLIIV¶SDWHQWULJKWV

ZLOOFDXVHKDUPWR3ODLQWLIIVIRUZKLFKGDPDJHVDUHLQDGHTXDWH

            8QOHVVDQGXQWLO/XSLQLVHQMRLQHGIURPLQIULQJLQJWKH¶SDWHQW3ODLQWLIIVZLOO

VXIIHULUUHSDUDEOHLQMXU\IRUZKLFKGDPDJHVDUHDQLQDGHTXDWHUHPHG\ 

            3ODLQWLIIVDUHHQWLWOHGWRWKHUHOLHISURYLGHGE\86&HLQFOXGLQJ

inter aliaDQRUGHURIWKLV&RXUWVWDWLQJWKDWWKHHIIHFWLYHGDWHRIDSSURYDOIRU/XSLQ¶V$1'$EH

DGDWHWKDWLVQRWHDUOLHUWKDQWKHH[SLUDWLRQGDWHRIWKH¶SDWHQW

                                           &28177:2

    Declaratory Judgment of Infringement of the ’734 Patent Under 35 U.S.C. § 271(a) by
              Lupin’s Proposed Generic Meloxicam capsules 5 mg and 10 mg

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           Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 13 of 58



              3ODLQWLIIVLQFRUSRUDWHHDFKRIWKHSUHFHGLQJSDUDJUDSKVDVLIIXOO\VHWIRUWKKHUHLQ

              7KLVFODLPDULVHVXQGHUWKH'HFODUDWRU\-XGJPHQW$FW86&DQG

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              7KHUHLVDQDFWXDOFDVHRUFRQWURYHUV\VXFKWKDWWKH&RXUWPD\HQWHUWDLQ3ODLQWLIIV¶

UHTXHVWIRUGHFODUDWRU\UHOLHIFRQVLVWHQWZLWK$UWLFOH,,,RIWKH8QLWHG6WDWHV&RQVWLWXWLRQDQG

WKDWDFWXDOFDVHRUFRQWURYHUV\UHTXLUHVDGHFODUDWLRQRIULJKWVE\WKLV&RXUW

              2QLQIRUPDWLRQDQGEHOLHI/XSLQZLOOHQJDJHLQWKHFRPPHUFLDOPDQXIDFWXUHXVH

RIIHUIRUVDOHVDOHDQGRULPSRUWDWLRQRILWVSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQG

PJLPPHGLDWHO\DQGLPPLQHQWO\XSRQDSSURYDORI$1'$1R 

              /XSLQ¶VDFWLRQVLQFOXGLQJEXWQRWOLPLWHGWRWKHGHYHORSPHQWRILWVSURSRVHG

JHQHULF0HOR[LFDPFDSVXOHVPJDQGPJDQGWKHILOLQJRIDQ$1'$ZLWKD3DUDJUDSK,9

FHUWLILFDWLRQUHOLDEO\SUHGLFWWKDW/XSLQKDVPDGHDQGZLOOFRQWLQXHWRPDNHVXEVWDQWLDO

SUHSDUDWLRQLQWKH8QLWHG6WDWHVLQFOXGLQJWKH'LVWULFWRI0DU\ODQGWRPDQXIDFWXUHVHOORIIHUWR

VHOODQGRULPSRUW/XSLQ¶VSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJ 

              7KHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI/XSLQ¶V

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJZLOOFRQVWLWXWHDQDFWRIGLUHFW

LQIULQJHPHQWRIWKH¶SDWHQW

              7KHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI/XSLQ¶V

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJLQYLRODWLRQRI3ODLQWLIIV¶SDWHQWULJKWV

ZLOOFDXVHKDUPWR3ODLQWLIIVIRUZKLFKGDPDJHVDUHLQDGHTXDWH 

              3ODLQWLIIVDUHHQWLWOHGWRDGHFODUDWRU\MXGJPHQWWKDWIXWXUHFRPPHUFLDO

PDQXIDFWXUHXVHRIIHUIRUVDOHVDOHDQGRULPSRUWDWLRQRI/XSLQ¶VSURSRVHGJHQHULF0HOR[LFDP

FDSVXOHVPJDQGPJEHIRUHSDWHQWH[SLUDWLRQE\/XSLQZLOOFRQVWLWXWHGLUHFWLQIULQJHPHQWRI
                                              
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           Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 14 of 58



WKH¶SDWHQW 

              8QOHVVDQGXQWLO/XSLQLVHQMRLQHGIURPLQIULQJLQJWKH¶SDWHQW3ODLQWLIIVZLOO

VXIIHULUUHSDUDEOHLQMXU\IRUZKLFKGDPDJHVDUHDQLQDGHTXDWHUHPHG\

                                           &28177+5((

    Declaratory Judgment of Infringement of the ’734 Patent Under 35 U.S.C. § 271(b) by
              Lupin’s Proposed Generic Meloxicam capsules 5 mg and 10 mg

              3ODLQWLIIVLQFRUSRUDWHHDFKRIWKHSUHFHGLQJSDUDJUDSKVDVLIIXOO\VHWIRUWKKHUHLQ

              7KLVFODLPDULVHVXQGHUWKH'HFODUDWRU\-XGJPHQW$FW86&DQG

 

              7KHUHLVDQDFWXDOFDVHRUFRQWURYHUV\VXFKWKDWWKH&RXUWPD\HQWHUWDLQ3ODLQWLIIV¶

UHTXHVWIRUGHFODUDWRU\UHOLHIFRQVLVWHQWZLWK$UWLFOH,,,RIWKH8QLWHG6WDWHV&RQVWLWXWLRQDQG

WKDWDFWXDOFDVHRUFRQWURYHUV\UHTXLUHVDGHFODUDWLRQRIULJKWVE\WKLV&RXUW

              2QLQIRUPDWLRQDQGEHOLHI/XSLQZLOOHQJDJHLQWKHFRPPHUFLDOPDQXIDFWXUHXVH

RIIHUIRUVDOHVDOHDQGRULPSRUWDWLRQRILWVSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQG

PJLPPHGLDWHO\DQGLPPLQHQWO\XSRQDSSURYDORI$1'$1R 

              /XSLQ¶VDFWLRQVLQFOXGLQJEXWQRWOLPLWHGWRWKHGHYHORSPHQWRILWVSURSRVHG

JHQHULF0HOR[LFDPFDSVXOHVPJDQGPJDQGWKHILOLQJRIDQ$1'$ZLWKD3DUDJUDSK,9

FHUWLILFDWLRQUHOLDEO\SUHGLFWWKDW/XSLQKDVPDGHDQGZLOOFRQWLQXHWRPDNHVXEVWDQWLDO

SUHSDUDWLRQLQWKH8QLWHG6WDWHVLQFOXGLQJWKH'LVWULFWRI0DU\ODQGWRPDQXIDFWXUHVHOORIIHUWR

VHOODQGRULPSRUW/XSLQ¶VSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJ 

              2QLQIRUPDWLRQDQGEHOLHI/XSLQZLOOLQFOXGHZLWKLQWKHSDFNDJLQJRILWV

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJRUZLOORWKHUZLVHPDNHDYDLODEOHWR

SURVSHFWLYHSDWLHQWVXSRQ)'$DSSURYDODODEHODQGRULQVWUXFWLRQVIRUXVHWKDWLQVWUXFWSDWLHQWV

                                                    
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        Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 15 of 58



WRXVHWKHFDSVXOHFODLPHGLQWKH¶SDWHQW

           2QLQIRUPDWLRQDQGEHOLHIDSDWLHQW¶VXVHRI/XSLQ¶VSURSRVHGJHQHULFSURSRVHG

JHQHULF0HOR[LFDPFDSVXOHVPJDQGPJDFFRUGLQJWRWKHLQVWUXFWLRQVLQFOXGHGLQWKHODEHO

DQGRULQVWUXFWLRQVIRUXVHRIWKRVHSURGXFWVZLOOFRQVWLWXWHDQDFWRIGLUHFWLQIULQJHPHQWRIRQH

RUPRUHRIWKHFODLPVLQWKH¶SDWHQW

           2QLQIRUPDWLRQDQGEHOLHI/XSLQEHFDPHDZDUHRIWKH¶SDWHQWQRODWHUWKDQ

ZKHQLWZDVLVVXHGE\WKH3DWHQW2IILFHDQGRUOLVWHGLQWKH2UDQJH%RRNDVFRYHULQJWKH

DSSURYHGIRUPXODWLRQRI9,9/2'(;

           2QLQIRUPDWLRQDQGEHOLHIXSRQDZDUHQHVVRIWKH¶SDWHQW/XSLQHLWKHU

DFWXDOO\NQHZRIWKHSRWHQWLDOIRULQIULQJHPHQWRIRQHRUPRUHFODLPVRIWKH¶SDWHQWRUZDV

ZLOOIXOO\EOLQGDVWRWKHSRWHQWLDOIRUWKDWLQIULQJHPHQWDWOHDVWEHFDXVHWKHODEHODQGRU

LQVWUXFWLRQVIRUXVHLQVWUXFWSDWLHQWVWRXVHWKHFDSVXOHFODLPHGLQWKH¶SDWHQW 

           7KHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI/XSLQ¶V

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJZLOOFRQVWLWXWHDQDFWRIDFWLYH

LQGXFHPHQWRILQIULQJHPHQWRIWKH¶SDWHQW

           7KHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI/XSLQ¶V

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJLQYLRODWLRQRI3ODLQWLIIV¶SDWHQWULJKWV

ZLOOFDXVHKDUPWR3ODLQWLIIVIRUZKLFKGDPDJHVDUHLQDGHTXDWH 

           3ODLQWLIIVDUHHQWLWOHGWRDGHFODUDWRU\MXGJPHQWWKDWIXWXUHFRPPHUFLDO

PDQXIDFWXUHXVHRIIHUIRUVDOHVDOHDQGRULPSRUWDWLRQRI/XSLQ¶VSURSRVHGJHQHULF0HOR[LFDP

FDSVXOHVPJDQGPJEHIRUHSDWHQWH[SLUDWLRQE\/XSLQZLOOFRQVWLWXWHDFWLYHLQGXFHPHQWRI

LQIULQJHPHQWRIWKH¶SDWHQW 

           8QOHVVDQGXQWLO/XSLQLVHQMRLQHGIURPLQIULQJLQJWKH¶SDWHQW3ODLQWLIIVZLOO
                                               
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         Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 16 of 58



VXIIHULUUHSDUDEOHLQMXU\IRUZKLFKGDPDJHVDUHDQLQDGHTXDWHUHPHG\

                                         &2817)285

    Infringement of the ’318 Patent Under 35 U.S.C. § 271(e)(2) by Lupin’s Proposed Generic
                              Meloxicam capsules 5 mg and 10 mg

           3ODLQWLIIVLQFRUSRUDWHHDFKRIWKHSUHFHGLQJSDUDJUDSKVDVLIIXOO\VHWIRUWKKHUHLQ

           /XSLQ/LPLWHGVXEPLWWHG$1'$1RWRWKH)'$XQGHUVHFWLRQMRI

WKH)'&$WRREWDLQDSSURYDOWRHQJDJHLQWKHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRU

RIIHUIRUVDOHRILWVSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJWKURXJKRXWWKH8QLWHG

6WDWHV%\VXEPLWWLQJWKLVDSSOLFDWLRQ/XSLQ/LPLWHGKDVFRPPLWWHGDQDFWRILQIULQJHPHQWRI

WKH¶SDWHQWXQGHU86&H$

           2QLQIRUPDWLRQDQGEHOLHI/3,SDUWLFLSDWHGLQFRQWULEXWHGWRDLGHGDEHWWHG

DQGRULQGXFHGWKHVXEPLVVLRQRI$1'$1R/3,¶VSDUWLFLSDWLRQLQFRQWULEXWLRQWR

DLGLQJDEHWWLQJDQGRULQGXFHPHQWRIWKHVXEPLVVLRQRI$1'$1RFRQVWLWXWHVDQDFWRI

LQIULQJHPHQWRIWKH¶SDWHQWXQGHU86&H$

           7KHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI/XSLQ¶V

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJZLOOFRQVWLWXWHDQDFWRIGLUHFW

LQIULQJHPHQWRIWKH¶SDWHQW

           7KHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI/XSLQ¶V

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJLQYLRODWLRQRI3ODLQWLIIV¶SDWHQWULJKWV

ZLOOFDXVHKDUPWR3ODLQWLIIVIRUZKLFKGDPDJHVDUHLQDGHTXDWH

           8QOHVVDQGXQWLO/XSLQLVHQMRLQHGIURPLQIULQJLQJWKH¶SDWHQW3ODLQWLIIVZLOO

VXIIHULUUHSDUDEOHLQMXU\IRUZKLFKGDPDJHVDUHDQLQDGHTXDWHUHPHG\ 

           3ODLQWLIIVDUHHQWLWOHGWRWKHUHOLHISURYLGHGE\86&HLQFOXGLQJ

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           Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 17 of 58



inter aliaDQRUGHURIWKLV&RXUWVWDWLQJWKDWWKHHIIHFWLYHGDWHRIDSSURYDOIRU/XSLQ¶V$1'$EH

DGDWHWKDWLVQRWHDUOLHUWKDQWKHH[SLUDWLRQGDWHRIWKH¶SDWHQW

                                             &2817),9(

    Declaratory Judgment of Infringement of the ’318 Patent Under 35 U.S.C. § 271(a) by
              Lupin’s Proposed Generic Meloxicam capsules 5 mg and 10 mg

              3ODLQWLIIVLQFRUSRUDWHHDFKRIWKHSUHFHGLQJSDUDJUDSKVDVLIIXOO\VHWIRUWKKHUHLQ

              7KLVFODLPDULVHVXQGHUWKH'HFODUDWRU\-XGJPHQW$FW86&DQG

 

              7KHUHLVDQDFWXDOFDVHRUFRQWURYHUV\VXFKWKDWWKH&RXUWPD\HQWHUWDLQ3ODLQWLIIV¶

UHTXHVWIRUGHFODUDWRU\UHOLHIFRQVLVWHQWZLWK$UWLFOH,,,RIWKH8QLWHG6WDWHV&RQVWLWXWLRQDQG

WKDWDFWXDOFDVHRUFRQWURYHUV\UHTXLUHVDGHFODUDWLRQRIULJKWVE\WKLV&RXUW

              2QLQIRUPDWLRQDQGEHOLHI/XSLQZLOOHQJDJHLQWKHFRPPHUFLDOPDQXIDFWXUHXVH

RIIHUIRUVDOHVDOHDQGRULPSRUWDWLRQRILWVSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQG

PJLPPHGLDWHO\DQGLPPLQHQWO\XSRQDSSURYDORI$1'$1R 

              /XSLQ¶VDFWLRQVLQFOXGLQJEXWQRWOLPLWHGWRWKHGHYHORSPHQWRILWVSURSRVHG

JHQHULF0HOR[LFDPFDSVXOHVPJDQGPJDQGWKHILOLQJRIDQ$1'$ZLWKD3DUDJUDSK,9

FHUWLILFDWLRQUHOLDEO\SUHGLFWWKDW/XSLQKDVPDGHDQGZLOOFRQWLQXHWRPDNHVXEVWDQWLDO

SUHSDUDWLRQLQWKH8QLWHG6WDWHVLQFOXGLQJWKH'LVWULFWRI0DU\ODQGWRPDQXIDFWXUHVHOORIIHUWR

VHOODQGRULPSRUW/XSLQ¶VSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJ 

              7KHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI/XSLQ¶V

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJZLOOFRQVWLWXWHDQDFWRIGLUHFW

LQIULQJHPHQWRIWKH¶SDWHQW

              7KHFRPPHUFLDOPDQXIDFWXUHLPSRUWDWLRQXVHVDOHRURIIHUIRUVDOHRI/XSLQ¶V

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           Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 18 of 58



SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJLQYLRODWLRQRI3ODLQWLIIV¶SDWHQWULJKWV

ZLOOFDXVHKDUPWR3ODLQWLIIVIRUZKLFKGDPDJHVDUHLQDGHTXDWH 

            3ODLQWLIIVDUHHQWLWOHGWRDGHFODUDWRU\MXGJPHQWWKDWIXWXUHFRPPHUFLDO

PDQXIDFWXUHXVHRIIHUIRUVDOHVDOHDQGRULPSRUWDWLRQRI/XSLQ¶VSURSRVHGJHQHULF0HOR[LFDP

FDSVXOHVPJDQGPJEHIRUHSDWHQWH[SLUDWLRQE\/XSLQZLOOFRQVWLWXWHGLUHFWLQIULQJHPHQWRI

WKH¶SDWHQW 

            8QOHVVDQGXQWLO/XSLQLVHQMRLQHGIURPLQIULQJLQJWKH¶SDWHQW3ODLQWLIIVZLOO

VXIIHULUUHSDUDEOHLQMXU\IRUZKLFKGDPDJHVDUHDQLQDGHTXDWHUHPHG\

                                              &28176,;

    Declaratory Judgment of Infringement of the ’318 Patent Under 35 U.S.C. § 271(b) by
              Lupin’s Proposed Generic Meloxicam capsules 5 mg and 10 mg

            3ODLQWLIIVLQFRUSRUDWHHDFKRIWKHSUHFHGLQJSDUDJUDSKVDVLIIXOO\VHWIRUWKKHUHLQ

            7KLVFODLPDULVHVXQGHUWKH'HFODUDWRU\-XGJPHQW$FW86&DQG

 

            7KHUHLVDQDFWXDOFDVHRUFRQWURYHUV\VXFKWKDWWKH&RXUWPD\HQWHUWDLQ3ODLQWLIIV¶

UHTXHVWIRUGHFODUDWRU\UHOLHIFRQVLVWHQWZLWK$UWLFOH,,,RIWKH8QLWHG6WDWHV&RQVWLWXWLRQDQG

WKDWDFWXDOFDVHRUFRQWURYHUV\UHTXLUHVDGHFODUDWLRQRIULJKWVE\WKLV&RXUW

            2QLQIRUPDWLRQDQGEHOLHI/XSLQZLOOHQJDJHLQWKHFRPPHUFLDOPDQXIDFWXUHXVH

RIIHUIRUVDOHVDOHDQGRULPSRUWDWLRQRILWVSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQG

PJLPPHGLDWHO\DQGLPPLQHQWO\XSRQDSSURYDORI$1'$1R 

            /XSLQ¶VDFWLRQVLQFOXGLQJEXWQRWOLPLWHGWRWKHGHYHORSPHQWRILWVSURSRVHG

JHQHULF0HOR[LFDPFDSVXOHVPJDQGPJDQGWKHILOLQJRIDQ$1'$ZLWKD3DUDJUDSK,9

FHUWLILFDWLRQUHOLDEO\SUHGLFWWKDW/XSLQKDVPDGHDQGZLOOFRQWLQXHWRPDNHVXEVWDQWLDO

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        Case 1:17-cv-00394-RDB Document 42 Filed 07/07/17 Page 19 of 58



SUHSDUDWLRQLQWKH8QLWHG6WDWHVLQFOXGLQJWKH'LVWULFWRI0DU\ODQGWRPDQXIDFWXUHVHOORIIHUWR

VHOODQGRULPSRUW/XSLQ¶VSURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJ 

        2QLQIRUPDWLRQDQGEHOLHI/XSLQZLOOLQFOXGHZLWKLQWKHSDFNDJLQJRILWV

SURSRVHGJHQHULF0HOR[LFDPFDSVXOHVPJDQGPJRUZLOORWKHUZLVHPDNHDYDLODEOHWR

SURVSHFWLYHSDWLHQWVXSRQ)'$DSSURYDODODEHODQGRULQVWUXFWLRQVIRUXVHWKDWLQVWUXFWSDWLHQWV

WRXVHWKHFDSVXOHFODLPHGLQWKH¶SDWHQW

        2QLQIRUPDWLRQDQGEHOLHIDSDWLHQW¶VXVHRI/XSLQ¶VSURSRVHGJHQHULFSURSRVHG

JHQHULF0HOR[LFDPFDSVXOHVPJDQGPJDFFRUGLQJWRWKHLQVWUXFWLRQVLQFOXGHGLQWKHODEHO

DQGRULQVWUXFWLRQVIRUXVHRIWKRVHSURGXFWVZLOOFRQVWLWXWHDQDFWRIGLUHFWLQIULQJHPHQWRIRQH

RUPRUHRIWKHFODLPVLQWKH¶SDWHQW

        2QLQIRUPDWLRQDQGEHOLHI/XSLQEHFDPHDZDUHRIWKH¶SDWHQWQRODWHUWKDQ

ZKHQLWZDVLVVXHGE\WKH3DWHQW2IILFHDQGRUOLVWHGLQWKH2UDQJH%RRNDVFRYHULQJDSSURYHG

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